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16                           IN THE UNITED STATES DISTRICT COURT
17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
18
                                                    Case No. 3:19-cv-02573-EMC (lead case)
     IN RE HIV ANTITRUST LITIGATION
19
                                                    DIRECT PURCHASER CLASS
20   THIS DOCUMENT RELATES TO :                     PLAINTIFFS’ NOTICE OF MOTION
                                                    AND MOTION TO DISBURSE BMS
21   KPH Healthcare Services, Inc. v. Gilead        SETTLEMENT FUNDS FOR BMS
     Sciences, Inc. et al., 3:20-cv-06961-EMC       SETTLEMENT ADMINISTRATION
22                                                  EXPENSES

23                                                  Date:      August 8, 2024
                                                    Time:      1:30 p.m.
24                                                  Ctrm:      5 – 17th Floor
                                                    Judge:     Honorable Edward M. Chen
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          DPPS’ NOTICE OF MOTION AND MOTION TO DISBURSE BMS SETTLEMENT FUNDS FOR BMS
      SETTLEMENT ADMINISTRATION EXPENSES / CASE NO: 3:19-CV-02573-EMC / RELATED CASE NO. 3:20-
                                          CV-06961-EMC
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 1                                 NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on Thursday, August 8, 2024 at 1:30 p.m. or as soon

 4   thereafter as the matter may be heard in the courtroom of the Honorable Edward M. Chen, in

 5   Courtroom 5, 17th Floor of the United States District Court for the Northern District of California,

 6   located at 450 Golden Gate Avenue, San Francisco, California 94102-3489, Plaintiff KPH

 7   Healthcare Services, Inc. a/k/a Kinney Drugs, Inc. (“KPH”), on behalf of itself and the BMS DPP

 8   Settlement Class (hereinafter, “DPPs” or “DPP Settlement Class”), hereby move the Court for an

 9   order directing the Escrow Agent to disburse certain funds from the BMS Settlement Fund to

10   reimburse the DPP Settlement Class’s economist and Court-appointed Claims Administrator for

11   expenses they incurred in administering the BMS Settlement. In support, DPPs rely on the Notice of

12   Motion, the supporting Memorandum of Points and Authorities, the supporting declarations and

13   exhibits, and all papers and records on file in this matter.

14          KPH respectfully submits that this matter is appropriate for disposition without a hearing and

15   requests that the Court vacate the hearing date and decide the motion on the papers.

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          DPPS’ NOTICE OF MOTION AND MOTION TO DISBURSE BMS SETTLEMENT FUNDS FOR BMS
      SETTLEMENT ADMINISTRATION EXPENSES / CASE NO: 3:19-CV-02573-EMC / RELATED CASE NO. 3:20-
                                          CV-06961-EMC
         Case 3:19-cv-02573-EMC Document 2225 Filed 07/02/24 Page 3 of 5


 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2          KPH, on behalf of itself and the DPP Settlement Class, respectfully moves the Court for an

 3   Order directing the Escrow Agent, Computershare Trust Company, N.A., to disburse funds from the

 4   BMS Settlement Fund to reimburse the Class’s economist and the Court-appointed Claims

 5   Administrator for expenses they incurred in administering the BMS Settlement.

 6          In support of this motion, KPH states the following:

 7          1.      This Court granted final approval to the BMS Settlement on November 18, 2022. See

 8   ECF No. 1524 (BMS Settlement Final Approval Order). There were no appeals from the Order. The

 9   Order became final on December 18, 2022.

10          2.      In granting final approval to the BMS Settlement, the Court approved the Plan of

11   Allocation of the Settlement Fund as fair, reasonable, and adequate within the meaning of Fed. R.

12   Civ. P. 23. See ECF No. 1524 ¶ 2 (BMS Settlement Final Approval Order); ECF No. 1002-1 at 66-

13   72 (BMS Settlement Plan of Allocation).

14          3.      In granting preliminary approval to the BMS Settlement, the Court appointed KCC

15   Class Action Services LLC (“KCC”) to serve as Claims Administrator, ECF No. 1159 ¶ 11, assigned

16   Dr. Russell L. Lamb the task of preparing individualized claim forms and calculating each Class

17   Member’s percentage share of the Net Settlement Fund, id. ¶ 19, and appointed Computershare Trust

18   Company, N.A. (“Computershare”) to serve as Escrow Agent for the BMS Settlement Fund, id. ¶ 12.

19          4.      In the Court’s Order granting final approval to the BMS Settlement, the Court stated,

20   “Upon application, the Court will consider allocation from the Settlement Fund for Settlement

21   Administration expenses and for Notice Expenses to the extent they are not paid by the BMS Notice

22   Fund, in accordance with the terms of the Settlement.” Id.¶ 15. The terms of the BMS Settlement

23   provide that “[t]he BMS Settlement Fund, to the extent permitted by the Court, shall be used to pay

24   … administrative and Notice Expenses to the extent they are not paid via the BMS Notice Fund.”

25   ECF No. 1002-1 at 14, ¶ 7(c).

26          5.      Since the Court entered its Orders, KCC and Dr. Lamb have worked collaboratively

27   to effectuate the BMS Settlement Plan of Allocation. KCC and Dr. Lamb diligently reviewed claim

28   forms and supporting documentation received from Class Members following the deadline for Class
                                                     1
          DPPS’ NOTICE OF MOTION AND MOTION TO DISBURSE BMS SETTLEMENT FUNDS FOR BMS
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 1   Members to submit claims. KCC sent deficiency letters to Class Members, KCC and Dr. Lamb

 2   assessed the supporting documentation that was submitted in response to the deficiency letters, and

 3   Dr. Lamb completed his allocation calculations pursuant to the Plan of Allocation approved by the

 4   Court. See Declaration of Ross D. Murray Regarding Distribution from BMS Settlement for

 5   Settlement Administration Expenses (hereinafter “Murray Decl.”), filed concurrently herewith; see

 6   Declaration of Russell L. Lamb Regarding Distribution from BMS Settlement for Settlement

 7   Administration Expenses (hereinafter “Lamb Decl.”), filed concurrently herewith.

 8          6.       In executing the Plan of Allocation for the BMS Settlement, Dr. Lamb has incurred

 9   unreimbursed expenses in the amount of $131,721.50. See Lamb Decl., ¶ 3.

10          7.       In administering the BMS Settlement, KCC has incurred unreimbursed expenses in

11   the amount of $15,684.90 and expects to incur up to an additional $14,984.99 in finally distributing

12   the BMS Settlement to the DPP Settlement Class. See Murray Decl., ¶ 3.

13          8.       KPH now moves the Court for an Order directing Computershare to disburse funds

14   from the BMS Settlement Fund to reimburse the Settlement administration expenses incurred by Dr.

15   Lamb in effectuating the Plan of Allocation for the BMS Settlement in an amount not to exceed

16   $131,721.50.

17          9.       KPH further seeks an Order from the Court directing Computershare to disburse

18   funds from the BMS Settlement Fund to reimburse the unreimbursed Settlement administration

19   expenses incurred by KCC in an amount not to exceed $30,669.89.

20                                                 Respectfully submitted,

21   Dated: July 2, 2024                           LAW OFFICES OF FRANCIS O. SCARPULLA

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       Case 3:19-cv-02573-EMC Document 2225 Filed 07/02/24 Page 5 of 5


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